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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MONROE COUNTY EMPLOYEES’
RETIREMENT SYSTEM, Individually and on
behalf of all others similarly situated,

              Plaintiff,
                                                Case No.: 1:21-cv-00722-JPO
v.
                                                Hon. J. Paul Oetken
ASTRAZENECA PLC, PASCAL SORIOT,
MARC DUNOYER and MENELAS
PANGALOS,

              Defendants.

VLADIMIR ZHUKOV, Individually and on
behalf of all others similarly situated,

              Plaintiff,

v.                                              Case No.: 1:21-cv-00825-JPO

ASTRAZENECA PLC, PASCAL SORIOT,                 Hon. J. Paul Oetken
MARC DUNOYER, and MENELAS
PANGALOS,

              Defendants.


        NOTICE OF MOTION OF CAROL GRAY FOR CONSOLIDATION OF
           THE ACTIONS, APPOINTMENT AS LEAD PLAINTIFF, AND
                  APPROVAL OF SELECTION OF COUNSEL

       TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR RESPECTIVE

ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Carol Gray (“Movant”) respectfully moves this Court for

an order: (1) consolidating the above captioned related actions (the “Actions”), (2) appointing

Movant as Lead Plaintiff pursuant to §21D of the Securities Exchange Act of 1934 (“Exchange

Act”), as amended by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”) and (3)

approving Movant’s selection of Levi & Korsinsky, LLP as Lead Counsel for the Class.
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       Movant seeks consolidation of the Actions, appointment as lead plaintiff, and approval of

her choice of counsel pursuant to the Securities Exchange Act of 1934, the Federal Rules of Civil

Procedure, and the PSLRA. This motion is based on this notice, the attached Memorandum of

Law, the Declaration of Shannon L. Hopkins in support thereof, and the Court’s complete files

and records in these Actions, as well as such further argument as the Court may allow at a hearing

on this motion.

Dated: March 29, 2021                               Respectfully Submitted,


                                                    LEVI & KORSINSKY, LLP

                                                    By: /s/ Shannon L. Hopkins
                                                    Shannon L. Hopkins (SH-1887)
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                                                    Email: shopkins@zlk.com

                                                    Lead Counsel for Carol Gray and
                                                    [Proposed] Lead Counsel for the Class




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